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                        UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA

NORFOLK/NEWPORT NEWS DIVISION
                                  Thursday, April 12, 2018
MINUTES OF PROCEEDINGS IN              Open Court
PRESENT: THE HONORABLE RAYMOND A. JACKSON, U.S. DISTRICT JUDGE
Deputy Clerk: P. Thompson                                     Reporter: Janet Collins, OCR


 Set: 9:30 a.m.                Started:     9:25 a.m.              Ended: 5:15 p.m.

 Case No.   4:17cr45
                                   United States of America
                                             v.
                        Joseph James Cain Benson, Mark Xavier Wallace,
                         Brian Lamar Brown, and Rosuan Romeo Kindell


  AUSA’s Howard Zlotnick and Lisa McKeel appeared on behalf of the Govt.
  Attorney Lawrence Woodward, c/a appeared with defendant Joseph James Cain
 Benson, in custody.
  Attorney Andrew Sacks, Ret. appeared with defendant Mark Xavier Wallace, in
 custody.
  Attorney Trey Kelleter, c/a appeared with defendant Bryan Lamar Brown, in
 custody.
  Attorney Jamison Rasberry, c/a appeared with defendant Rosuan Romeo
 Kindell, in custody.


  Matter came on for trial by jury (Day #3).
  Petit jurors (12 & 2 alternate) appeared pursuant to adjournment last
 evening, 4/11/18.


  Government continued presentation of evidence – witnesses sworn and
 testified.


 (Lunch Recess: 1:00 p.m. – 2:30 p.m.)
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Exhibits admitted.
Objections heard and rulings made on the record.


Stipulations read into the record.


 Jurors excused and Court adjourned to return on Friday, April 13, 2018 at
9:30 a.m.
Defendants remanded.
